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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1450V
                                      Filed: April 19, 2016
                                         UNPUBLISHED

****************************
JAMIE EDWARDSON,                         *
                                         *
                     Petitioner,         *     Damages Decision Based on Proffer;
                                         *     Influenza Vaccine (“Flu Vaccine”);
 v.                                      *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                      *     Administration (“SIRVA”);
AND HUMAN SERVICES,                      *     Special Processing Unit (“SPU”)
                                         *
                     Respondent.         *
                                         *
****************************
Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner.
Camille Collett, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On December 1, 2015, Jamie Edwardson (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleges that she
suffered “a severe injury to her shoulder injury after receiving an influenza vaccination
on October 13, 2014.” Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

       On March 25, 2016, a ruling on entitlement was issued, finding petitioner entitled
to compensation. On April 18, 2016, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $75,000.00. Proffer at
1. In the Proffer, respondent represented that petitioner agrees with the proffered


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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award. Id. Based on the record as a whole, the undersigned finds that petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $75,000.00 in the form of a check payable to
petitioner, Jamie Edwardson. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS


JAMIE EDWARDSON,

                          Petitioner,

v.                                                             No. 15-1450V
                                                               Chief Special Master Nora Beth Dorsey
SECRETARY OF HEALTH AND                                        ECF
HUMAN SERVICES,

                          Respondent.


          RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.      Compensation for Vaccine Injury-Related Items

        For purposes of this Proffer, the term “vaccine-related” is described in

Respondent’s Rule 4(c) Report, filed on March 24, 2016, conceding entitlement in this

case. Respondent proffers that, based on the evidence of record, petitioner should be

awarded $75,000.00. This amount represents all elements of compensation to which

petitioner would be entitled under 42 U.S.C. § 300aa-15(a)(1); 15(a)(3)(A); and 15(a)(4).

Petitioner agrees.

II.     Form of the Award

        The parties recommend that the compensation provided to petitioner should be

made through a lump sum payment as described below, and request that the special

master’s decision and the Court’s judgment award the following: 1




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court for
appropriate relief. In particular, respondent would oppose any award for future medical expenses, future
pain and suffering, and future lost wages.
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   A. A lump sum payment of $75,000.00, in the form of a check payable to petitioner,
      Jamie Edwardson. This amount accounts for all elements of compensation under
      42 U.S.C. § 300aa-15(a) to which petitioner would be entitled.

Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                     Respectfully Submitted,

                                                     BENJAMIN C. MIZER
                                                     Principal Deputy Assistant Attorney
                                                     General

                                                     RUPA BHATTACHARYYA
                                                     Director
                                                     Torts Branch, Civil Division

                                                     VINCENT J. MATANOSKI
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     MICHAEL P. MILMOE
                                                     Senior Trial Counsel
                                                     Torts Branch, Civil Division

                                                     s/Camille M. Collett
                                                     CAMILLE M. COLLETT
                                                     Trial Attorney
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DATE: April 18, 2016




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